          Case 04-11586       Doc 1241
                                     Filed 04/28/10 Entered 04/30/10 11:13:23 Desc Main
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                  UNITED STATES BANKRUPTCY COURT, DISTRICT OF MASSACHUSETTS
                                 Proceeding Memorandum/Order of Court

In Re: High Voltage Engineering Corp.                      Case Number: 04-11586                      Ch: 11

MOVANT/APPLICANT/PARTIES:
Doc# 1236 Motion filed by Interested Party Stephen S. Gray For Order Dismissing Chapter 11
Cases




OUTCOME:
#1236
_____Granted_____Denied_____Approved_____Sustained
_____Denied_____Denied without prejudice_____Withdrawn in open court_____Overruled
_____OSC enforced/released
_____Continued to:__________________________For:______________________________________________
_____Formal order/stipulation to be submitted by:________________Date due:____________________
_____Findings and conclusions dictated at close of hearing incorporated by reference
_____Taken under advisement: Brief(s) due_______________________From_________________________
                              Response(s) due____________________From_________________________
_____Fees allowed in the amount of: $________________________Expenses of: $___________________
_____No appearance/response by:_______________________________________________________________
x
_____DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

There being good and sufficient notice and an opportunity for a hearing, and there being no objections, the Court
grants the Motion and dismisses this Chapter 11 case. The hearing scheduled for May 12, 2010 is canceled.




IT IS SO NOTED:                                           IT IS SO ORDERED:


______________________                                                                         04/28/2010
                                                          _______________________________Dated:__________
Courtroom Deputy                                          Joan N. Feeney, U.S. Bankruptcy Judge
